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     Federal Defender
 2   CARO MARKS, Bar #159267
     Senior Litigator
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 5
 6
     Attorney for Defendant
 7   DANIEL WACKERMAN
 8
 9
                        IN THE UNITED STATES DISTRICT COURT
10
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12
13
     UNITED STATES OF AMERICA,       )     No. MAG 06-013 CMK/GGH
14                                   )
                    Plaintiff,       )
15                                   )     STIPULATION AND ORDER
          v.                         )
16                                   )
     DANIEL WACKERMAN,               )     Date:   March 23, 2007
17                                   )     Time: 2:00 p.m.
                    Defendant.       )     Judge: Hon. Edward F. Brennan
18                                   )
     _______________________________ )
19
20        DANIEL WACKERMAN, by and through his counsel, Caro Marks,
21   Assistant Federal Defender, and the United States Government, by and
22   through its counsel, Heiko Coppola, Assistant United States Attorney,
23   hereby stipulate and agree to vacate the previously scheduled
24   preliminary hearing date of February 23, 2007 and set a preliminary
25   hearing date of March 23, 2007 at 2:00 p.m..
26        A continuance is necessary to both parties to continue their
27   pretrial investigations. Particularly, defense counsel needs additional
28   time to consult with the defendant and attempt a pretrial resolution of
              Case 2:07-cr-00120-WBS Document 12 Filed 02/23/07 Page 2 of 2


 1   the case, which features numerous individuals allegedly involved in an
 2   international drug conspiracy.
 3        IT IS STIPULATED that the period from the signing of this Order,
 4   through and including March 23, 2007 be excluded in computing the time
 5   within which trial must commence under the Speedy Trial Act, pursuant
 6   to 18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4, for ongoing
 7   preparation of counsel. The government fully concurs with this request.
 8   Dated:    February 22, 2007
 9                                             Respectfully submitted,
10                                             DANIEL BRODERICK
                                               Federal Defender
11
12                                             /s/ Caro Marks
                                               ________________________
13                                             CARO MARKS
                                               Assistant Federal Defender
14                                             Attorney for Defendant
                                               DANIEL WACKERMAN
15
16   Dated: February 23, 2007
17                                             MCGREGOR SCOTT
                                               United States Attorney
18
19                                             /s/ Heiko Coppola
20                                             HEIKO COPPOLA
                                               Assistant U.S. Attorney
21
22                                          ORDER
23   IT IS SO ORDERED.
24   Dated:    February 23, 2007.
25
26
27
28


     S/O Wackerman cont prelim                -2-
